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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


UNITED STATES OF AMERICA,

                     Plaintiff,

v.                                                 Case No: 6:17-cv-1744-Orl-18DCI

PAULA J. LUZNAR,

                     Defendant.

 UNITED STATES        Daniel C. Irick        COUNSEL FOR     Jillian M. Jewell
 MAGISTRATE JUDGE:                           PLAINTIFF
 DEPUTY CLERK:        Nativelis Rodriguez

 COURT REPORTER       Digital                COUNSEL FOR     Michael Nardella
                                             DEFENDANT:      Matthew Herron (via
 DATE/TIME:           April 11, 2018                         telephone)
                      10:02-10:11AM
 TOTAL TIME:          8 minutes


                                  CLERK’S MINUTES
                                PRETRIAL CONFERENCE

Case called, appearances made, procedural setting by the Court.
Hearing held re outstanding discovery issues.
Parties shall confer and submit a case management report within 10 days.
Court adjourned.
